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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                        Plaintiffs,

        v.                                               Case No. 20-cv-02658 (CJN)

JOSEPH R. BIDEN, JR., in his official capacity
as President of the United States, et al.,

                        Defendants.




                                      JOINT STATUS REPORT

       Pursuant to the Court’s June 21, 2021 Minute Order, the parties have met and conferred

regarding whether recent developments have narrowed or eliminated any of the issues raised in

this case, and hereby submit this joint status report.

       Defendants state that, as discussed in the prior joint status report, see ECF No. 67, the

Biden Administration has issued a new Executive Order that, among other things, establishes

processes for evaluating and taking appropriate action with respect to certain risks posed by

connected software applications. See Exec. Order No. 14,034, Protecting United States Persons’

Sensitive Data from Foreign Adversaries, § 2(b)-(d), 86 Fed. Reg. 31,423, 31,424-25 (June 11,

2021). Without prejudice to any potential future actions, the new Executive Order revoked the

prior administration’s Executive Order pertaining to TikTok, see id. § 1 (revoking Exec. Order.

No. 13,942), and further directed that all Executive Branch agencies “promptly take steps to

rescind any orders, rules, regulations, guidelines, or policies . . . implementing or enforcing” that

prior Executive Order. Id. § 2(a).
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       Pursuant to the newly issued Executive Order, the Secretary of Commerce has rescinded

the prohibitions at issue in this case. See Rescission of Identification of Prohibited Transactions

With Respect to TikTok and WeChat, 86 Fed. Reg. 32,757 (June 23, 2021).

       In Defendants’ view, this case is now moot in light of the above actions. Accordingly, the

Government has filed motions to voluntarily dismiss both the ongoing appeals before the D.C.

Circuit of the preliminary injunctions previously entered by this Court. See TikTok Inc. v. Biden,

No. 20-5302 (D.C. Cir.); TikTok Inc. v. Biden, No. 20-5381 (D.C. Cir.). Those motions were

unopposed by Plaintiffs, and are currently pending before the D.C. Circuit.

       Based on the facts set forth above, the parties respectfully request that the stay of

proceedings in this Court be continued for another 14 days, which will allow time for the D.C.

Circuit to rule on the pending motions, and will also allow the parties to discuss whether there is

any need for further proceedings before this Court. To the extent this matter is not otherwise

resolved within those 14 days, e.g., through a Stipulation of Dismissal under Fed. R. Civ.

P. 41(a)(1)(A), the parties propose that a further joint status report be due in 14 days, i.e., on

July 26, 2021.


DATED: July 12, 2021                         Respectfully submitted,

                                              /s/ John E. Hall                .

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